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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


 BODYGUARD PRODUCTIONS, INC., ET
 AL.,                                             Civil Action No. 3:21-cv-15310-FLW-TJB
                                                  Georgette Castner, presiding
 Plaintiffs,                                      Tonianne J. Bongiovanni, referral
 v.
                                                   STIPULATED PROTECTIVE ORDER
 RCN TELECOM SERVICES OF
 MASSACHUSETTS, LLC and RCN
 TELECOM SERVICES, LLC,
 Defendants.



                             STIPULATED PROTECTIVE ORDER

          This CAUSE is before the Court on the joint stipulation of Plaintiffs AFTER II MOVIE,

LLC, BODYGUARD PRODUCTIONS, INC., HITMAN TWO PRODUCTIONS, INC., LHF

PRODUCTIONS, INC., MILLENNIUM FUNDING, INC., MILLENNIUM IP, INC.,

MILLENNIUM MEDIA, INC., MON, LLC, NIKOLA PRODUCTIONS, INC., OUTPOST

PRODUCTIONS, INC., RAMBO V PRODUCTIONS, INC., VENICE PI, LLC, VOLTAGE

HOLDINGS, LLC, and WONDER ONE, LLC (“Plaintiffs”) and Defendants RCN TELECOM

SERVICES OF MASSACHUSETTS, LLC and RCN TELECOM SERVICES, LLC

(“Defendant”) for a protective order. For GOOD CAUSE having been shown, it is hereby

ORDERED as follows:

I.        Protected Information

          1.     “Protected Information” means any information of any type, kind, or character that

is designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” by any of the producing or



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receiving persons, whether it be a document, information contained in a document, information

revealed during a deposition, information revealed in an interrogatory answer, or otherwise.

II.     Designation Criteria

        2.      (a) CONFIDENTIAL Information. A producing party, including any party to this

action and any nonparty producing information or material voluntarily or pursuant to a subpoena

or court order, shall designate as CONFIDENTIAL only such information that the producing party

in good faith believes in fact is non-public, sensitive or confidential information. Information that

is generally available to the public, such as public filings, advertising materials, and the like, shall

not be designated as CONFIDENTIAL. Information and documents that may be designated as

CONFIDENTIAL include, but are not limited to, confidential technical, sales, marketing,

financial, or other commercially sensitive information. Correspondence and other communications

and documents between the parties or with nonparties may be designated as CONFIDENTIAL if

the communication was made with the understanding or reasonable expectation that the

information would not become generally available to the public.

        (b) HIGHLY CONFIDENTIAL Information.

                (i) HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY Information. A

        producing party, including any party to this action and any nonparty producing information

        or material voluntarily or pursuant to a subpoena or court order, shall designate as HIGHLY

        CONFIDENTIAL – ATTORNEYS’ EYES ONLY only such information that is particularly

        sensitive information that the producing party believes in good faith cannot be disclosed


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       without creating a substantial risk of harm to the producing party. HIGHLY

       CONFIDENTIAL – ATTORNEYS’ EYES ONLY information includes but is not limited to

       proprietary marketing, financial, sales, research and development, or technical

       data/information; or commercially sensitive competitive information, including, without

       limitation, information relating to future products, movies, strategic or business plans,

       competitive analyses, or distribution and or royalty agreements; personnel files, personal

       information that is protected by law, settlement agreements or communications, customers’

       or subscribers’ personally identifiable information (including information that reveals the

       identities of specific subscribers), and other sensitive information that, if not restricted as

       set forth in this order, may subject the producing or disclosing person to competitive or

       financial injury or potential legal liability to third parties.

               (ii) HIGHLY CONFIDENTIAL – SOURCE CODE Information. A producing party,

       including any party to this action and any nonparty producing information or material

       voluntarily or pursuant to a subpoena or court order, shall designate as HIGHLY

       CONFIDENTIAL – SOURCE CODE only non-public computer object code or other

       executable code or source code or similar programming statements or instructions that in

       general are converted into machine language by compilers, assemblers, or interpreters.

       3.      Notwithstanding the above, “Protected Information” shall not include information

that was in the public domain at the time of disclosure; information that the receiving party can

show, by written document, was in its lawful possession at the time of disclosure; or information


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that lawfully came into the recipient’s possession from another source without restriction as to

disclosure, provided such other source had the right to make the disclosure to the receiving party.

III.    Use of Protected Information

        4.      All Protected Information provided by any party or nonparty in the course of this

litigation shall be used solely for the purpose of preparation, trial, and appeal of this litigation and

for no other purpose, and shall not be disclosed except in accordance with the terms hereof.

IV.     Marking of Documents

        5.      Documents provided in this litigation may be designated by any party, or any

nonparty producing information or material voluntarily or pursuant to a subpoena or a court order,

as Protected Information by marking each page of the documents so designated with a stamp

indicating that the information is “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.” In lieu of

marking the original of a document, if the original is not provided, the designating party may mark

the copies that are provided. Originals shall be preserved for inspection. Electronic documents and

electronically stored information produced natively may be designated by the producing person or

by any party as Protected Information by labeling the file name as “CONFIDENTIAL” or

“HIGHLY CONFIDENTIAL,” but to the extent such labeling is impossible or impractical,

documents and electronically stored information produced natively may be designated as Protected

Information by other reasonable means agreed to by and between the producing party and the

receiving party in writing. If a hard copy of a document produced natively is used in the case as

an exhibit or otherwise, the party using it shall mark each page as “CONFIDENTIAL” or


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“HIGHLY CONFIDENTIAL.” Parties requesting production of documents or information from

nonparties, whether by subpoena or otherwise, must notify such nonparties of this Order and their

ability to designate documents and information as “CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL.”

V.     Qualified Persons

       6.     “Qualified Persons” means:

       a.     For HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY Information:

              i.      attorneys who are not employees of any named party to this action, but who

       are retained as outside counsel by a named party in connection with this litigation, and their

       support personnel;

              ii.     a party’s in-house counsel who are actively working on this litigation,

       provided such persons execute Attachment A agreeing to be bound by the terms of this

       Protective Order;

              iii.    actual or potential independent experts or consultants (and their respective

       support personnel) engaged in connection with this litigation. Prior to disclosure of any

       HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY information, such persons

       must execute Attachment A agreeing to be bound by the terms of this Protective Order

       (such signed document to be maintained by the attorney retaining such person) and have

       been disclosed in writing by notice to all counsel as a recipient of HIGHLY

       CONFIDENTIAL – ATTORNEYS’ EYES ONLY information; provided, however, that


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      such persons shall not receive HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

      ONLY information prior to the expiration of the five business day objection period set

      forth in section XIV, ¶22 and resolution of any challenge thereunder. Independent experts

      or consultants under this paragraph shall not include current employees, officers, directors

      or agents of parties or affiliates of parties;

              iv.     this Court and its staff and any other tribunal or dispute resolution officer

      duly appointed or assigned in connection with this litigation;

              v.      litigation vendors and court reporters who agree to keep the information

      confidential;

              vi.     any person who was an author of the HIGHLY CONFIDENTIAL –

      ATTORNEYS’ EYES ONLY information or received the CONFIDENTIAL/HIGHLY

      CONFIDENTIAL information prior to its disclosure in litigation and who agrees to keep

      the information confidential.

      b.      For HIGHLY CONFIDENTIAL – SOURCE CODE Information:

              i.      attorneys who are not employees of any named party to this action, but who

      are retained as outside counsel by a named party, and their support personnel;

              ii.     actual or potential independent experts or consultants (and their respective

      support personnel) engaged in connection with this litigation. Prior to disclosure of any

      HIGHLY CONFIDENTIAL – SOURCE CODE information, such persons must execute

      Attachment A agreeing to be bound by the terms of this Protective Order (such signed


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       document to be maintained by the attorney retaining such person) and have been disclosed

       in writing by notice to all counsel as a recipient of HIGHLY CONFIDENTIAL – SOURCE

       CODE information; provided, however, that such persons shall not receive HIGHLY

       CONFIDENTIAL – SOURCE CODE information prior to the expiration of the five

       business day objection period set forth in section XIV, ¶22 and resolution of any challenge

       thereunder. Independent experts or consultants under this paragraph shall not include

       current employees, officers, directors or agents of parties or affiliates of parties;

              iii.    this Court and its staff and any other tribunal or dispute resolution officer

       duly appointed or assigned in connection with this litigation;

              iv.     litigation vendors and court reporters.

       c.     For CONFIDENTIAL Information:

              i.      the persons identified in section V, subparagraphs 6(a) and 6(b);

              ii.     such officers, directors, or employees of a party who are actively involved

       in the prosecution or defense of this case;

              iii.    any person who was an author of the CONFIDENTIAL information or

       received the CONFIDENTIAL/HIGHLY CONFIDENTIAL information prior to its

       disclosure in litigation and who agrees to keep the information confidential.

VI.    Source Code

       7.     Any HIGHLY CONFIDENTIAL – SOURCE CODE produced in discovery shall

be made available for inspection, in a format allowing it to be reasonably reviewed and searched,


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during normal business hours or at other mutually agreeable times, at an office of the designating

party’s counsel or another mutually agreeable location. The source code shall be made available

for inspection on a secured computer in a secured room, and the inspecting party shall not copy,

remove, or otherwise transfer any portion of the source code onto any recordable media or

recordable device. The designator may visually monitor the activities of the inspecting party’s

representative during any source code review, but only to ensure that there is no unauthorized

recording, copying, or transmission of the source code. The designator may also require the

inspecting party’s representative to execute a non-disclosure agreement to ensure that the

representative maintains the confidentiality of the source code.

       8.      The inspecting party may request paper copies of limited portions of source code

that are reasonably necessary for the preparation of court filings, pleadings, expert reports, or for

deposition or trial. The designator shall provide all such source code in paper form, including Bates

numbers and the label “HIGHLY CONFIDENTIAL – SOURCE CODE.” The receiving party may

take notes on a laptop and such notes shall be treated as HIGHLY CONFIDENTIAL – SOURCE

CODE information under this Order; provided, however, that such notes shall be stored in an

encrypted manner and may only be unencrypted during their use by a Qualified Person under

section V, subparagraph 6(b)(i)–(ii). These notes may include file names and path names for files

reviewed.

       9.      The inspecting party shall maintain a record of any individual who has inspected

any portion of the source code in electronic or paper form, and shall maintain all paper copies of


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any printed portions of the source code in a secured, locked area. The inspecting party shall not

convert any of the information contained in the paper copies into any electronic format other than

for the preparation of a pleading, exhibit, expert report, discovery document, deposition transcript,

or other Court document. Any paper copies used during a deposition shall be retrieved at the end

of each day and must not be left with a court reporter or any other unauthorized individual.

VII.     Disclosure at Depositions, Hearings and Trial

         10.    Information disclosed at (a) the deposition of a party or one of its present or former

officers, directors, employees, consultants, representatives, or independent experts retained by

counsel for the purpose of this litigation, or (b) the deposition of a nonparty may be designated by

any party as Protected Information by indicating on the record at the deposition that the testimony

is “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” and is subject to the provisions of this

Order.

         11.    Any party also may designate information disclosed at a deposition, hearing or trial

as Protected Information by notifying all parties in writing not later than thirty (30) days after

receipt of the final transcript of the specific pages and lines of the transcript that should be treated

as Protected Information thereafter. All deposition transcripts shall be treated as HIGHLY

CONFIDENTIAL for a period of thirty (30) days after receipt of the final transcript. In the event

that expedited disclosure may be required by a party due to an impending deadline regarding

preparation of any filing or submission that requires consideration of the Protected Information in

question, the concerned party shall negotiate in good faith for a shortened expiration period. Any


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portions so designated shall thereafter be treated in accordance with the terms of this Order.

VIII. Third-Party Productions

       12.     Information produced in this lawsuit by non-parties pursuant to requests for

production, depositions on written questions, or otherwise shall be presumptively designated as

HIGHLY CONFIDENTIAL for a period of fourteen (14) days following the parties’ receipt of

such production. Within that fourteen (14) day period, any party may notify all other parties that

the production contains CONFIDENTIAL or HIGHLY CONFIDENTIAL information pertaining

to that party. Upon receiving such notification, all other parties must then provisionally treat such

production as CONFIDENTIAL or HIGHLY CONFIDENTIAL, as set forth in the notification,

for a period of twenty-five (25) days from the date of such notice. Within that twenty-five (25) day

period, the notifying party shall designate the specific information within the production that the

party believes is CONFIDENTIAL or HIGHLY CONFIDENTIAL. After that twenty-five (25)

day period, information that was not marked as CONFIDENTIAL or HIGHLY CONFIDENTIAL

shall not retain its provisional designation.

       13.     Counsel for a party or a nonparty witness shall have the right to exclude from

depositions any person who is not authorized to receive Protected Information pursuant to this

Protective Order, but such right of exclusion shall be applicable only during periods of examination

or testimony during which Protected Information is being used or discussed.

       14.     To the extent possible, the court reporter shall segregate into separate transcripts

information designated as Protected Information with blank, consecutively numbered pages being


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provided in a non-designated main transcript. The separate transcript containing Protected

Information shall have page numbers that correspond to the blank pages in the main transcript.

IX.    Disclosure to Qualified Persons

       15.     Protected Information shall not be disclosed or made available by the receiving

party to persons other than Qualified Persons except as necessary to comply with applicable law

or the valid order of a court of competent jurisdiction; provided, however, that in the event of a

disclosure compelled by law or court order, the receiving party will so notify the producing party

as promptly as practicable (and prior to making such disclosure) and shall seek application of this

Protective Order or an agreement to treat such information as confidential.

       16.     Notwithstanding the restrictions on use in this Order, any party may disclose

CONFIDENTIAL, HIGHLY CONFIDENTIAL, or HIGHLY CONFIDENTIAL – SOURCE

CODE information to (i) any employee of the producer of the information; and (ii) any person who

authored the information in whole or part or who received such information. Any party is free to

use its own Protected Information for any purpose, and no use by the producing party shall affect

or otherwise act as a waiver with respect to the confidential status of that information so long as

the Protected Information has not been publicly disclosed.

X.     Unintentional Disclosures

       17.     Documents unintentionally produced without designation as Protected Information

later may be designated and shall be treated as Protected Information from the date written notice

of the designation is provided to the receiving party. If a receiving party learns of any unauthorized


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disclosure of Protected Information, the party shall promptly upon learning of such disclosure

inform the producing party of such disclosure and shall make all reasonable efforts to prevent

disclosure by each unauthorized person who received such information.

XI.    Documents Produced for Inspection Prior to Designation

       18.     In the event documents are produced for inspection prior to designation, the

documents shall be treated as HIGHLY CONFIDENTIAL during inspection. At the time of

copying for the receiving parties, Protected Information shall be marked prominently as

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” by the producing party.

XII.   Consent to Disclosure and Use in Examination

       19.     Nothing in this order shall prevent disclosure beyond the terms of this order if each

party designating the information as Protected Information consents to such disclosure or if the

Court, after notice to all affected parties and nonparties, orders such disclosure. Nor shall anything

in this order prevent any counsel of record from utilizing Protected Information in the examination

or cross-examination of any person who is indicated on the document as being an author, source,

or recipient of the Protected Information, irrespective of which party produced such information.

Nothing herein shall limit in any way a producing party’s right to use or disclose its own Protected

Information for any purpose.

XIII. Disclosure in Mediations, Hearing and Trial

       20.     CONFIDENTIAL and HIGHLY CONFIDENTIAL information may be disclosed

in any mediation, settlement conference, hearings and the trial of this case without any requirement


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that the mediator, Court, Court officials, those persons impaneled as potential jurors or those

persons comprising the actual jury sign any written agreement to be bound by the terms of this

Protective Order. At any public hearing or trial, a party may make requests to the Court to take

steps to protect the confidentiality of Protected Information to the extent appropriate and practical.

XIV. Challenging the Designation

       21.     Protected Information. A party shall not be obligated to challenge the propriety of

a designation of Protected Information at the time such designation is made, and a failure to do so

shall not preclude a subsequent challenge to the designation. In the event that any party to this

litigation disagrees at any stage of these proceedings with the designation of any information as

Protected Information, the parties shall first try to resolve the dispute in good faith on an informal

basis, such as by production of redacted copies. If the dispute cannot be resolved, the objecting

party may invoke this Protective Order by objecting in writing to the party who designated the

document or information as Protected Information. The objecting party shall then have twenty-one

(21) days to move the Court for an order removing or altering the designated status of the disputed

information. The disputed information shall remain Protected Information unless and until the

Court orders otherwise. Failure to move for an order shall constitute a waiver of the objecting

party’s objection to the designation of the disputed information.

       22.     Expert or Consultant Qualified Persons. In the event that any party in good faith

disagrees with the designation of an actual or potential independent expert or consultant as a

Qualified Person or the disclosure of particular Protected Information to such expert or consultant,


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the objecting party must serve, within five (5) business days of such designation, a written

objection to the designation. The parties shall first try to resolve the dispute in good faith on an

informal basis. If the dispute cannot be resolved, the objecting party shall have ten (10) business

days from the date of the designation (or in the event particular Protected Information is requested

subsequent to the designation of the Qualified Person, eight (8) days from service of the request)

to move the Court for an order denying the designated expert or consultant (a) status as a Qualified

Person, or (b) access to particular Protected Information. The objecting person shall have the

burden of demonstrating that disclosure to the disputed expert or consultant would expose the

objecting party to risk of serious harm. Upon the timely filing of such a motion, no disclosure of

Protected Information shall be made to the disputed expert or consultant unless and until the Court

enters an order preserving the designation of the person as a Qualified Person.

       23.     Non-Qualified Persons. In the event that a party in good faith contends that certain

Protected Information should be shared with any non-Qualified Persons, such party may make

such request in writing to the producing party. The parties shall first attempt to resolve the request

for such exception in good faith. In the event a dispute over a non-Qualified Person’s access to

Protected Information cannot be resolved informally, the party seeking an exception to allow non-

Qualified Persons to access Protected Information may seek relief from the Court. The party

seeking such exception shall have the burden of demonstrating that disclosure to the non-Qualified

Person is necessary and would not subject the producing party to a risk of serious harm. No

disclosure of Protected Information shall be made to a non-Qualified person unless and until the


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Court enters an order permitting such disclosure.

XV.    Manner of Use in Proceedings / Filing Under Seal

       24.     In the event a party wishes to use any Protected Information in any affidavits,

declarations, briefs, memoranda of law, or other papers filed with the Court in this action, the filing

party may first request permission from the producing party to de-designate the Protected

Information for public filing, if appropriate. In the event the producing party maintains the

Protected Information designation, the filing party shall file the document (or a portion of the

document) as a restricted document pursuant to and consistent with Local Civil Rule 5.3

(Documents Filed Under Seal) and the Presiding Judge’s Practice Standards. Nothing in this Order

supersedes or replaces any provision of Local Civil Rule 5.3 or the Presiding Judge’s Practice

Standards.

XVI. Return of Documents

       25.     Not later than one hundred and twenty (120) days after conclusion of this litigation

and any appeal related to it, any Protected Information, all reproductions of such information, and

any notes, summaries, or descriptions of such information in the possession of any of the persons

specified in section V (except subparagraph 6(a)(iv)–(vi) and 6(b)(iii)–(iv)) shall be returned to

the producing party or destroyed, except as the parties may otherwise agree or this Court may

otherwise order or to the extent such information has been used as evidence at any trial or hearing.

Notwithstanding this obligation to return or destroy information, counsel may retain attorney work

product and any documents that were filed with the Court, including document indices, but such


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work product and court filings shall remain subject to this Order. Counsel are not required to delete

information that may reside on electronic back-up systems, to the extent such information is not

readily accessible and would be unduly burdensome to locate and remove; however, the parties

agree that no Protected Information shall be retrieved from the electronic back-up systems after

conclusion of this litigation and any related appeals.

XVII. Ongoing Obligations and Continuing Jurisdiction of the Court

       26.     Insofar as the provisions of this Protective Order, or any other protective orders

entered in this litigation, restrict the communication and use of the information protected by it,

such provisions shall continue to be binding after the conclusion of this litigation, except that (a)

there shall be no restriction on documents that are used as exhibits in open court unless such

exhibits were filed under seal, and (b) a party may seek the written permission of the producing

party or order of the Court with respect to dissolution or modification of this, or any other,

protective order. This Court shall retain jurisdiction over the parties and any other person who has

had access to Protected Information pursuant to this Order to enforce the Order’s provisions.

XVIII. Advice to Clients

       27.     This Order shall not bar any attorney in the course of rendering advice to such

attorney’s client with respect to this litigation from conveying to any party client the attorney’s

evaluation in a general way of Protected Information produced or exchanged under the terms of

this order; provided, however, that in rendering such advice and otherwise communicating with

the client, the attorney shall not disclose the specific contents of any Protected Information


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produced by another party if such disclosure would be contrary to the terms of this Protective

Order.

XIX. Duty to Ensure Compliance

         28.   Any party designating any person as a Qualified Person shall have the duty to

reasonably ensure that such person observes the terms of this Protective Order and shall be

responsible upon breach of such duty for the failure of such person to observe the terms of this

Protective Order. This Order shall be binding upon and inure to the benefit of the parties and their

successors-in- interest.

XX.      Inadvertent Production and Waiver of Privileged Documents and Information

         29.   In addition to Federal Rule of Civil Procedure 26(b)(5)(B) and Federal Rule of

Evidence 502, the parties agree that the inadvertent production or disclosure of documents or

information subject to the attorney-client privilege, work product immunity, or any other

applicable privilege or immunity from disclosure shall not constitute a waiver of, nor a prejudice

to, any claim that such or related material is Protected Information, privileged, or protected by the

work product immunity or any other applicable privilege, provided that the producing party

promptly notifies the receiving party in writing after discovery of such inadvertent production or

disclosure. Such inadvertently produced or disclosed documents or information, including all

copies thereof, shall be returned to the producing party or destroyed immediately upon request.

The receiving party shall also immediately destroy any notes or other writing or recordings that

summarize, reflect, or discuss the content of such privileged or Protected Information.


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       30.     No use shall be made of such documents or information in discovery, in deposition,

in court filings or at trial. Nor shall such documents or information be shown to anyone, after a

request for their return, who is not entitled to have access to them. The receiving party may move

the Court for an order compelling production of any inadvertently produced or disclosed document

or information, but the motion shall not assert as a ground for production the fact of the inadvertent

production or disclosure, nor shall the motion disclose, summarize, characterize, or otherwise use

the content of the inadvertently produced document or information (beyond any non-privileged

information sufficient to provide the Court with necessary context to resolve the motion).

XXI. Modification and Exceptions

       31.     Any party may seek an order of this Court modifying this Protective Order or

granting an exception to it. A party seeking an exception to this Order shall bear the burden of

establishing the need for such exception and that the producing party will not be substantially

harmed thereby.


         DATED this 18th       January
                    ___ day of __________ 2023.



                                                        BY THE COURT:



                                                       s/Tonianne J. Bongiovanni




                                [Docket Entry No. 43 is terminated].

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                                          Attachment A

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 BODYGUARD PRODUCTIONS, INC.,                  §    Civil Action No. 3:21-cv-15310-FLW-TJB
 ET AL.,                                       §    Georgette Castner, presiding
                                               §    Tonianne J. Bongiovanni, referral
 Plaintiffs,
                                               §
 v.                                            §
                                               §
 RCN TELECOM SERVICES OF                       §
 MASSACHUSETTS, LLC and RCN                    §
 TELECOM SERVICES, LLC,                        §
                                               §
 Defendants.
                                               §



                         ACKNOWLEDGMENT OF PROTECTIVE
                                   ORDER


        I, _______ [name], state the following under penalties of perjury as provided by law:

        I am _______[position] for [employer]. I will be receiving Confidential and/or Highly

Confidential information that is covered by the Stipulated Protective Order governing this case

and entered by the Court on _______, 2022. I have read the Stipulated Protective Order and

understand that the Confidential and/or Highly Confidential information is provided pursuant to

the terms and conditions in that Order.

        I agree to be bound by the Stipulated Protective Order. I agree to use the Confidential

and/or Highly Confidential information solely for purposes of this case. I understand that neither

the Confidential and/or Highly Confidential information nor any notes concerning that information

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may be disclosed to anyone that is not bound by the Stipulated Protective Order. I agree to return

the Confidential and/or Highly Confidential information and any notes concerning that information

to the attorney for the producer of Confidential and/or Highly Confidential information or to

destroy the information and any notes at the attorney’s request as required by the Stipulated

Protective Order.

       I submit to the jurisdiction of the Court that issued the Protective Order for purposes of

enforcing that Order. I give up any objections I might have to that Court's jurisdiction over me or

to the propriety of venue in that Court.



Name:___________________

Title: ____________________

Date: ____________________




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